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                                   4                                      UNITED STATES DISTRICT COURT

                                   5                                   NORTHERN DISTRICT OF CALIFORNIA

                                   6
                                        ROBERT L. WARING,
                                   7                                                           Case No. 23-cv-00402-WHO
                                                          Plaintiff,
                                   8
                                                    v.                                         CASE MANAGEMENT CONFERENCE
                                   9                                                           ORDER
                                        TRADER JOE'S COMPANY,
                                  10
                                                          Defendant.
                                  11

                                  12
Northern District of California
 United States District Court




                                               IT IS HEREBY ORDERED that, pursuant to Fed.R.Civ.P. 16(b) and Civil L. R. 16-10, a
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                                  14   Case Management Conference will be held in this case before the Honorable William H. Orrick on

                                  15   May 2, 2023 at 2:00 P.M. via Zoom Webinar. This conference shall be attended by lead trial

                                  16   counsel for parties who are represented. Parties who are proceeding without counsel must appear
                                  17
                                       personally.
                                  18
                                       1.      Case Management Conference Requirements
                                  19
                                               a.        Plaintiffs shall serve copies of this Order at once on all parties to this action, and on
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                                                         any parties subsequently joined, in accordance with the provisions of Fed.R.Civ.P.
                                  21

                                  22                     4 and 5. Following service, plaintiffs shall file a certificate of service with the Clerk

                                  23                     of this Court.
                                  24           b.        Counsel are directed to confer in advance of the Case Management Conference.
                                  25
                                                         Not less than seven days before the conference, counsel shall file a joint case
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                                                         management statement in compliance with the Civil Local Rules and the Standing
                                  27
                                                         Order for All Judges of the Northern District of California. Failure to file a joint
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                                                     statement shall be accompanied by a signed declaration setting forth the grounds
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                                   2                 for such failure. Failure to show good cause for such failure may subject the parties

                                   3                 to sanctions.

                                   4           c.    Each party shall be represented at the Case Management Conference by counsel
                                   5
                                                     prepared to address all of the matters referred to in this Order, and with authority to
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                                                     enter stipulations and make admissions pursuant to this Order.
                                   7
                                               d.    Any request to reschedule the above date should be made in writing, and by
                                   8
                                                     stipulation, if possible, not less than ten days before the conference date. Good
                                   9

                                  10                 cause must be shown.

                                  11           e.    At the Case Management Conference the parties should be prepared to address and
                                  12                 resolve the following: setting the date and the estimated length of the trial; setting
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                                  13
                                                     the date for discovery cutoff; setting the date to designate experts and other
                                  14
                                                     witnesses; and setting the date for the pretrial conference.
                                  15
                                       2.      Notice to Unrepresented (Pro Se) Parties in Non-Prisoner Cases
                                  16

                                  17           a.    Parties representing themselves should visit the link titled “If You Don’t Have a

                                  18                 Lawyer” on the Court’s homepage, www.cand.uscourts.gov. The link discusses the

                                  19                 Court’s “Legal Help Center” for unrepresented parties. In San Francisco, the Legal
                                  20                 Help Center is located on the 15th Floor, Room 2796, of the courthouse at 450
                                  21
                                                     Golden Gate Avenue. In Oakland, the Legal Help Center is located on the 4th
                                  22
                                                     Floor, Room 470S, of the courthouse at 1301 Clay Street. To make an appointment
                                  23
                                                     for San Francisco or Oakland, call 415-782-8982.
                                  24

                                  25           b.    If you are representing yourself and you have not been granted leave to proceed in
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                                                     forma pauperis (IFP) by the Court, you must comply with the service requirements of
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                                         Case 3:23-cv-00402-WHO Document 11 Filed 02/07/23 Page 3 of 3




                                                    Rule 4 of the Federal Rules of Civil Procedure, as set forth below. Failure to follow the
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                                                    procedures may result, under Rule 4(m), in dismissal of your case:
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                                   3                (i)     It is your responsibility to obtain a valid summons from the clerk and to effect

                                   4                        service of the summons and complaint on all defendants in accordance with

                                   5                        Rule 4 of the Federal Rules of Civil Procedure. If you have named the United
                                   6                        States government, a federal agency, a federal official or a federal employee as
                                   7                        a defendant, you must comply with the special requirements of Rule 4(i).
                                   8
                                                    (ii)    Service may be affected by any person who is not a party and who is at least 18
                                   9
                                                            years of age, which means that you, as a party, may not affect service. If
                                  10
                                                            service of the summons and complaint is not made upon a defendant within 90
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                                                            days after the filing of the complaint, your action will, under Rule 4(m), be
                                  12
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                                                            dismissed as to that defendant.
                                  13

                                  14                (iii)   Within 95 days after the filing of the complaint, you must file proof of service

                                  15                        indicating which defendants were served within the 90 days allowed under

                                  16                        Rule 4(m) and showing, in accordance with Rule 4(i), how each of those
                                  17                        defendants was served (for example, by attaching appropriate certificates of
                                  18
                                                            service). You must also show cause why a defendant not served within the 90
                                  19
                                                            days allowed under Rule 4(m) should not be dismissed without prejudice.
                                  20
                                                    (iv)    Failure to do these things within the designated time will result in the dismissal
                                  21
                                                            of your case under Rule 4(m) and Rule 41(b).
                                  22

                                  23   Dated: February 7, 2023
                                  24                                                   ______________________________________
                                                                                       WILLIAM H. ORRICK
                                  25                                                   United States District Judge
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